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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CORTEZ LARNELL MOORE,

                        Plaintiff,

 v.                                            Case No. 19-cv-1206-NJR

 JOHN BALDWIN, et al.,

                        Defendants.


                          MEMORANDUM AND ORDER

ROSENSTENGEL, Chief Judge:

         This matter is before the Court for case management purposes. Specifically,

Plaintiff Moore has failed to identify John Doe #1 and John Doe #2 as ordered by the

Court.

         Moore’s Complaint (Doc. 1) identified two John Does who allegedly retaliated

against Moore and failed to intervene to stop use of force against him (Doc. 15, pp. 4-5).

On March 30, 2020, the Court entered an initial scheduling order setting a deadline of

July 1, 2020 for Moore to identify the John Does (Doc. 41, p. 3). Moore was warned that a

failure to identify the John Does would result in their dismissal from the case. As part of

that scheduling order, Moore was directed to provide Defendants with all information in

his possession that would help identify the John Does by June 1, 2020 (Id.). Defendants

had until June 16, 2020 to provide Moore with the identity of the John Does or, if unable

to make a specific identification, they were to provide him with documents and

information to assist Moore in identifying the John Does (Id.).

         On June 16, 2020, Defendants filed their notice of compliance (Doc. 50), informing

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the Court that they had not received any correspondence from Moore by his June 1, 2020

deadline. They indicated that they sought information on the officers who were escorting

Moore on the date and time in question but no incident report or any other identifying

information existed (Id. at p. 2). Without further information, they were unable to identify

the two John Does. Although Moore’s deadline to identify the John Does was set for July

1, 2020, per Second Amended Administrative Order 261, that deadline was extended to

July 31, 2020.

       As of this date, Moore has neither provided Defendants with identifying

information as required by the Court’s Order, identified the John Does, or asked for

additional time to identify them. Because Moore failed to identify John Doe #1 and John

Doe #2 as required by the Court’s Order (Doc. 41) the Court DISMISSES without

prejudice the claims against John Doe #1 and John Doe #2.


       IT IS SO ORDERED.

       DATED: August 3, 2020


                                                 ____________________________
                                                 NANCY J. ROSENSTENGEL
                                                 Chief U.S. District Judge




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